  1   Thomas C. Mitchell (CA State Bar No. 124438)
      ORRICK, HERRINGTON & SUTCLIFFE LLP
  2   405 Howard Street
      San Francisco, CA 94105
  3
      Telephone: (415) 773-5732
  4   Facsimile: (415) 773-5759
      Email: tcmitchell@orrick.com
  5
      Debra L. Felder (admitted pro hac vice)
  6   ORRICK, HERRINGTON & SUTCLIFFE LLP
  7   1152 15th Street, NW
      Washington, DC 20005
  8   Telephone: (202) 339-8567
      Facsimile: (202) 339-8500
  9   Email: dfelder@orrick.com
 10   Counsel for mNOC AERS LLC
 11
                         IN THE UNITED STATES BANKRUPTCY COURT
 12
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 13
                                      SAN FRANCISCO DIVISION
 14                                              Bankruptcy Case
 15   In re:                                     Case No. 19-30088 (DM)

 16
      PG&E CORPORATION,                                Chapter 11
 17                                                    (Lead Case)
        - and -                                        (Jointly Administered)
 18
      PACIFIC GAS AND ELECTRIC
 19   COMPANY,                                         NOTICE OF HEARING ON mNOC AERS
                                                       LLC’S (I) MOTION FOR ENTRY OF AN
 20
                         Debtors.                      ORDER CONFIRMING SAFE HARBOR
 21                                                    PROTECTION AND (II) MOTION UNDER
 22                                                    11 U.S.C. §§ 105(a) AND 107(b) AND FRBP
               Affects PG&E Corporation                9018 TO FILE CONTRACT AND
 23                                                    RELATED FILINGS UNDER SEAL
         X     Affects Pacific Gas and Electric
 24            Company                                 Date: May 21, 2019
 25            Affects both Debtors                    Time: 9:30 a.m. (Pacific Time)
                                                       Place: United States Bankruptcy Court
 26                                                           Courtroom 17, 16th Floor
      *All papers shall be filed in the Lead Case,            San Francisco, CA 94102
 27    No. 19-30088-DM.                                Related Docket Nos. 1596, 1597, 1598, 1599, 1600
                                                       Objection Deadline: May 7, 2019, 4:00 pm PDT
 28


Case: 19-30088     Doc# 1601    Filed: 04/22/19      Entered: 04/22/19 19:39:35      Page 1 of
                                            4
  1          PLEASE TAKE NOTICE that mNOC AERS LLC (“mNOC”) has filed the Motion and

  2   Memorandum of Points and Authorities of mNOC AERS LLC for Entry of an Order Confirming

  3   Safe Harbor Protection Under 11 U.S.C. §§ 362(b)(6) and 556 (redacted version) (Dkt. No. 1599)

  4   (the “Safe Harbor Motion”), and mNOC AERS LLC’s Motion and Memorandum of Points and

  5   Authorities Under 11 U.S.C. §§ 105(A) and 107(B) and FRBP 9018 for Entry of an Order

  6   Authorizing the Filing of Certain Documents and Related Filings Under Seal (Dkt. No. 1596) (the

  7   “Motion to File Under Seal”, and together with the Safe Harbor Motion, the “Motions”).

  8          PLEASE TAKE FURTHER NOTICE that the Motions are each based on the

  9   Memorandum of Points and Authorities annexed thereto, respectively, the Declaration of Ting
 10   Chang filed in support of the Motions (redacted version) (Dkt. No. 1600), the complete files and

 11   records in these cases, the arguments of counsel, and such other and further matters as this Court

 12   may consider.

 13          PLEASE TAKE FURTHER NOTICE that the Motions are set for hearing on

 14   May 21, 2019 at 9:30 a.m. (PDT) before the Honorable Dennis Montali at the United States

 15   Bankruptcy Court for the Northern District of California, San Francisco Division, located at

 16   450 Golden Gate Avenue, 16th Floor, Courtroom 17, San Francisco, CA 94102.

 17          PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motions

 18   shall be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local

 19   Bankruptcy Rules for the Northern District of California, shall be filed with the Bankruptcy Court
 20   in accordance with the customary practices of the Bankruptcy Court, and shall be served on

 21   (i) Chambers of the Honorable Judge Dennis Montali, United States Bankruptcy Court for the

 22   Northern District of California, 450 Golden Gate Avenue, 16th Floor, Courtroom 17,

 23   San Francisco, CA 94102; (ii) the Debtors, c/o PG&E Corporation and Pacific Gas and Electric

 24   Company, PO Box 770000, 77 Beale Street, San Francisco, CA 94105 (Attn: Janet Loduca, Esq.);

 25   (iii) counsel for the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New

 26   York 10153 (Attn: Stephen Karotkin, Esq., Jessica Liou, Esq., and Matthew Goren, Esq.), and

 27   Keller & Benvenutti LLP, 650 California Street, Suite 1900, San Francisco, CA 94108 (Attn:

 28   Tobias Keller, Esq. and Jan Kim, Esq.); (iv) counsel for the administrative agent under the Debtors’

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Case: 19-30088     Doc# 1601      Filed: 04/22/19     Entered: 04/22/19 19:39:35       Page 2 of
                                              4
  1   debtor-in-possession financing facility, Stroock & Stroock & Lavan LLP, 180 Maiden Lane, New

  2   York, New York 10038-4982 (Attn: Kristopher M. Hansen, Esq., Erez E. Gilad, Esq., and Matthew

  3   G. Garofalo, Esq.) and 2029 Century Park East, Los Angeles, CA 90067-3086 (Attn: Frank A.

  4   Merola, Esq.); (v) counsel for the collateral agent under the Debtors’ debtor-in-possession financing

  5   facility, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York 10017 (Attn:

  6   Eli J. Vonnegut, Esq., David Schiff, Esq., and Timothy Graulich, Esq.); (vi) counsel to the

  7   California Public Utilities Commission, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285

  8   Avenue of the Americas, New York, New York 10019-6064 (Attn: Alan W. Kornberg, Esq., Brian

  9   S. Hermann, Esq., Walter R. Rieman, Esq., Sean A. Mitchell, Esq., and Neal P. Donnelly, Esq.);
 10   (vii) the Office of the United States Trustee for Region 17, 450 Golden Gate Avenue, 5th Floor,

 11   Suite #05-0153, San Francisco, CA 94102 (Attn: James L. Snyder, Esq. and Timothy Laffredi,

 12   Esq.); (viii) the U.S. Nuclear Regulatory Commission, Washington, DC 20555-0001 (Attn: General

 13   Counsel); (ix) counsel for the United States on behalf of the Federal Energy Regulatory

 14   Commission, U.S. Department of Justice, 1100 L Street, NW, Room 7106, Washington, DC 20005

 15   (Attn: Danielle A. Pham, Esq.); (x) counsel for the Official Committee of Unsecured Creditors,

 16   Milbank LLP, 55 Hudson Yards, New York, NY 10001-2163 (Attn: Dennis F. Dunn, Esq. and Sam

 17   A. Khalil, Esq.) and 2029 Century Park East, 33rd Floor, Los Angeles, CA 90067 (Attn: Paul S.

 18   Aronzon, Esq., Gregory A. Bray, Esq., and Thomas R. Kreller, Esq.); (xi) counsel for the Official

 19   Committee of Tort Claimants, Baker & Hostetler LLP, 11601 Wilshire Boulevard, Suite 1400, Los
 20   Angeles, CA 90025-0509 (Attn: Eric Sagerman, Esq. and Cecily Dumas, Esq.); and (xii) all parties

 21   requesting notice in these chapter 11 cases pursuant to Rule 2002 of the Federal Rules of

 22   Bankruptcy Procedure, so as to be so filed or received no later than May 7, 2019, at 4:00 p.m.

 23   (PDT) (the “Objection Deadline”).

 24          PLEASE TAKE FURTHER NOTICE that reply papers in further support of the Motions

 25   must be filed and served no later than 12:00 p.m. (PDT) on May 14, 2019.

 26          PLEASE TAKE FURTHER NOTICE that failure to properly file and serve an opposition

 27   may be deemed consent to the relief requested in the Motions or a waiver of any right to oppose it.

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Case: 19-30088     Doc# 1601      Filed: 04/22/19     Entered: 04/22/19 19:39:35        Page 3 of
                                              4
  1          PLEASE TAKE FURTHER NOTICE that if there is no timely objection to the relief

  2   requested in the Motions, the Court may enter an order granting the relief by default.

  3

  4   DATED: April 22, 2019
                                                    ORRICK, HERRINGTON & SUTCLIFFE LLP
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  6                                                 /s/ Thomas C. Mitchell
                                                    Thomas C. Mitchell (CA State Bar No. 124438)
  7                                                 405 Howard Street
                                                    San Francisco, CA 94105
  8                                                 Telephone: (415) 773-5732
                                                    Facsimile: (415) 773-5759
  9
                                                    Email: tcmitchell@orrick.com
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                                                    and
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                                                    Debra L. Felder (admitted pro hac vice)
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                                                    Telephone: (202) 339-8567
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                                                    Email: dfelder@orrick.com
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 16                                                 Counsel for mNOC AERS LLC
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Case: 19-30088     Doc# 1601      Filed: 04/22/19     Entered: 04/22/19 19:39:35       Page 4 of
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